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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                       NOTICE OF FILING

         The Government hereby gives notice that it has filed the Government’s Second Classified

  Ex Parte, In Camera, Under Seal Supplement to Motions for an Order Pursuant to CIPA Section

  4 and Fed. R. Crim. P. 16(d)(1) with the Court by delivering it to the Classified Information

  Security Officer (“CISO”) in Fort Pierce, Florida on February 15, 2024. An unclassified cover

  sheet for the Supplement is attached hereto.

                                                 Respectfully submitted,

                                                 JACK SMITH
                                                 Special Counsel

                                       By:       /s/ Julie A. Edelstein____________
                                                 Jay I. Bratt, Counselor to the Special Counsel
                                                 Julie A. Edelstein, Senior Assistant Special Counsel
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                                                 Washington, D.C. 20530
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                                 CERTIFICATE OF SERVICE

        I certify that on February 16, 2024, I electronically filed the foregoing document with the

  Clerk of Court using CM/ECF.


                                             /s/ Jay I. Bratt______
                                             Jay I. Bratt




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